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 1   PHILLIP A. TALBERT
     United States Attorney
 2   ROGER YANG
     Assistant U. S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, CA 95814
 4   Telephone: (916) 554-2700

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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          2:15-CR-00185-TLN
12                  Plaintiff,
                                                        PRELIMINARY ORDER OF
13          v.                                          FORFEITURE
14   SHARICE MONIQUE WILLIAMS,
15                  Defendant.
16

17          Based upon the plea agreement entered into between plaintiff United States of America and

18 defendant Sharice Monique Williams it is hereby ORDERED, ADJUDGED AND DECREED as follows:

19          1.      Pursuant to 18 U.S.C. §§ 492, 982(a)(2)(B) and 28 U.S.C. § 2461(c), defendant Sharice

20 Monique Williams’s interest in the following property shall be condemned and forfeited to the United

21 States of America, to be disposed of according to law:

22                  a. Approximately 129 counterfeit $100 bills.

23          2.      The above-listed property was used or intended to be used to commit or to promote the

24 commission of violation of 18 U.S.C. § 472.

25          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to seize

26 the above-listed property. The aforementioned property shall be seized and held by the U.S. Secret

27 Service, in its secure custody and control.

28          4.      a.      Pursuant to 18 U.S.C. § 982(b)(1), incorporating 21 U.S.C. § 853(n), and Local
                                                         1
29                                                                              Preliminary Order of Forfeiture

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 1 Rule 171, the United States shall publish notice of the order of forfeiture. Notice of this Order and notice

 2 of the Attorney General’s (or a designee’s) intent to dispose of the property in such manner as the

 3 Attorney General may direct shall be posted for at least 30 consecutive days on the official internet

 4 government forfeiture site www.forfeiture.gov. The United States may also, to the extent practicable,

 5 provide direct written notice to any person known to have alleged an interest in the property that is the

 6 subject of the order of forfeiture as a substitute for published notice as to those persons so notified.

 7                  b.      This notice shall state that any person, other than the defendant, asserting a legal

 8 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the
 9 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

10 within thirty (30) days from the receipt of direct written notice, whichever is earlier.

11          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

12 will enter a Final Order of Forfeiture pursuant to 18 U.S.C. §§ 492, 982(a)(2)(B) and 28 U.S.C. § 2461(c),

13 in which all interests will be addressed.

14          SO ORDERED this 11th day of May, 2017.

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18                                                                   Troy L. Nunley
                                                                     United States District Judge
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29                                                                                  Preliminary Order of Forfeiture

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